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                        IN THE UNITED                 DISTRICT COURT               ,       a
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                       FOR THE                             OF ILLINOIS



      In Re: Petitions for Retroactive
      Application of Amendment to
      Sentences Previously Imposed for
      Certain Crack Cocaine Offenses                          No.     It12-
                                  ADMINIS'lbUTIVE ORDER

      Hemdon, Chief Judge:

                    The United States Sentencing Commission lUSSC) has reduced
      somewhat the longstanding disparity' between sentences recommended by it for
      powder cocaine and crack cocaine i!n the advisory sentencing guidelines. The
      prospective effective date was Noveaber 1, 2007. In the exercise of its lawful
      authority, the Commission decided to make its advisory guidelines for these offenses,
(     under certain circumstances upon the appropriate findings of the presiding judge,
      retroactive. However, the effective ddte of this retroactive application is not until
      March 3, 2008. Consequently, the Cdurt cannot act on any petitions requesting a
      reduction in sentence prior to that date.

                   This Court, en banc, has determined that any petitions filed prior to that
     date will be stayed until March 3,20081. However, regardless of that stay, the Federal
     Public Defenders Office (FPD) is herkby designated to represent each defendant
     (petitioner)who files such a petition or motion, by whatever nomenclature the litigant
     places on the document. The Public Defenders Office shall thereupon decide
     specifically whlch attorney within the odflce shall individually be assigned which files.
     Should the FPD determine there is a konflict for that particular defendant, it shall
     enlist the FPD of the Eastern District of Missouri for representation of that defendant
     through the interomce agreement it hab worked out with that office for that purpose.
     If the FPD plans to file an amended qetition/motion for reductton, it may do so on
     March 3, 2008, but it shall provfde courtesy copies to the U.S. Attorney's office on
     February 27, 2008.

                    The U.S. Attorney's Offlck is not required to file a response to any such
     filing (petition or motion) so filed by *e defendant seeking a reduction until March
     10, 2008. Prior to that date, the Court in concert with the U.S. Attorney's office and
     the FPD will work together to determihe the procedural and logistical issues relative
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   to the handling of such cases. The USSC has identified 27 defendants who will be
   eligible for immediate release, if the bresidingjudge so determines, in March, with
   another 25 within the first year after the amendment. Priority in sequence of
   handling will be accorded those first 17 who are potentially eligible immediately and
   the next 25 thereafter. It is noted thAt the U.S. Attorney's offlce and the FPD have
   consented, in general principle, to Utilizing video conferencing equipment when
   possible.
                 The clerks office is directed to implement this order by entering the FPD
   as attorney of record in each case rqlevant to the issues discussed in this order,
   sending a copy of this order to the dedendant, petitioner, movant, litigant who seeks
   to have his sentence reduced pursuwt to the USSC amendment and who files his
   moving document prior to March 3, i2008,and to send copies of this order to the
   FPD, U.S. Attorney and posting it on the District Court's website.


         IT I S SO ORDERED.

         Signed this 19th day of December, 2007.

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                                                 Chief Judge
                                                 United States District Court
